Case 19-05285-sms   Doc 1   Filed 08/13/19 Entered 08/13/19 17:09:39   Desc Main
                            Document     Page 1 of 19
Case 19-05285-sms   Doc 1   Filed 08/13/19 Entered 08/13/19 17:09:39   Desc Main
                            Document     Page 2 of 19
Case 19-05285-sms   Doc 1   Filed 08/13/19 Entered 08/13/19 17:09:39   Desc Main
                            Document     Page 3 of 19
Case 19-05285-sms   Doc 1   Filed 08/13/19 Entered 08/13/19 17:09:39   Desc Main
                            Document     Page 4 of 19
Case 19-05285-sms   Doc 1   Filed 08/13/19 Entered 08/13/19 17:09:39   Desc Main
                            Document     Page 5 of 19
Case 19-05285-sms   Doc 1   Filed 08/13/19 Entered 08/13/19 17:09:39   Desc Main
                            Document     Page 6 of 19
Case 19-05285-sms   Doc 1   Filed 08/13/19 Entered 08/13/19 17:09:39   Desc Main
                            Document     Page 7 of 19
Case 19-05285-sms   Doc 1   Filed 08/13/19 Entered 08/13/19 17:09:39   Desc Main
                            Document     Page 8 of 19
Case 19-05285-sms   Doc 1   Filed 08/13/19 Entered 08/13/19 17:09:39   Desc Main
                            Document     Page 9 of 19
Case 19-05285-sms   Doc 1    Filed 08/13/19 Entered 08/13/19 17:09:39   Desc Main
                            Document      Page 10 of 19
Case 19-05285-sms   Doc 1    Filed 08/13/19 Entered 08/13/19 17:09:39   Desc Main
                            Document      Page 11 of 19
Case 19-05285-sms   Doc 1    Filed 08/13/19 Entered 08/13/19 17:09:39   Desc Main
                            Document      Page 12 of 19
Case 19-05285-sms   Doc 1    Filed 08/13/19 Entered 08/13/19 17:09:39   Desc Main
                            Document      Page 13 of 19
Case 19-05285-sms   Doc 1    Filed 08/13/19 Entered 08/13/19 17:09:39   Desc Main
                            Document      Page 14 of 19
Case 19-05285-sms   Doc 1    Filed 08/13/19 Entered 08/13/19 17:09:39   Desc Main
                            Document      Page 15 of 19
Case 19-05285-sms   Doc 1    Filed 08/13/19 Entered 08/13/19 17:09:39   Desc Main
                            Document      Page 16 of 19
Case 19-05285-sms   Doc 1    Filed 08/13/19 Entered 08/13/19 17:09:39   Desc Main
                            Document      Page 17 of 19
Case 19-05285-sms   Doc 1    Filed 08/13/19 Entered 08/13/19 17:09:39   Desc Main
                            Document      Page 18 of 19
Case 19-05285-sms   Doc 1    Filed 08/13/19 Entered 08/13/19 17:09:39   Desc Main
                            Document      Page 19 of 19
